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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 BEAUFORT DIVISION

UNITED STATES OF AMERICA                              )
                                                      )
                                                      )
                vs.                                  CRIMINAL.
                                                      )        NO. 9:22-cr-00658
                                                      )
                                                      )
                                                      )
RUSSELL LUCIUS LAFFITTE                               )



    GOVERNMENT’S RESPONSE IN OPPOSITION TO DEFENDANT’S SECOND
      MOTION TO DISMISS THE SECOND SUPERSEDING INDICTMENT

        The Defendant, Russell Lucius Laffitte, has filed a Second Motion to Dismiss the Second

Superseding Indictment. He asks the Court to usurp the role of the jury and weigh conflicting

evidence to make findings of fact before any such evidence has been fairly presented in a neutral

forum. The Government respectfully requests the Court deny the motion.

   I.      Background

        On September 20, 2022, the grand jury returned a Second Superseding Indictment charging

the Defendant with conspiracy to commit wire fraud and bank fraud (Count One); bank fraud

(Count Two); wire fraud (Count Three); and three counts of misapplication of bank funds (Counts

Four, Five, and Six). Second Superseding Indictment, ECF No. 61. The Defendant first moved to

dismiss the Second Superseding Indictment on September 26, arguing the Government exceeded

its authority by superseding. ECF No. 73. The Court denied that motion, holding “[t]he

Government was within its right to file the Second Superseding Indictment.” ECF No. 94 at 4.

        On October 31, the Defendant filed a second motion to dismiss, this time based on alleged

“factual errors” in the indictment. Second Mot. to Dismiss, ECF No. 137 at 1. The Defendant’s

claims are simply a dispute about the weight of the evidence against him. He has identified no
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legal or factual error in the Second Superseding Indictment. The indictment sufficiently puts him

on notice of the charges against him and the essential facts underlying those charges, and his

motion should be denied.

   II.       The Defendant’s challenge to Count Four is a premature Rule 29 motion asking
             this Court to weigh evidence before any evidence has been introduced.

         The Defendant’s claim that Count Four’s allegations are false is not a valid basis for

dismissal of an indictment. The problem with the Defendant’s argument “is that it conflates

pleading with proof.” United States v. Ring, 628 F. Supp. 2d 195, 223 (D.D.C. 2009) (quotation

marks omitted).     “On a motion to dismiss an indictment, the question is not whether the

government has presented sufficient evidence to support the charge, but solely whether the

allegations in the indictment, if true, are sufficient to establish a violation of the charged offense.”

United States v. Todd, 446 F.3d 1062, 1068 (10th Cir. 2006); see United States v. Thomas, 367

F.3d 194, 197 (4th Cir. 2004) (“Despite [the defendant’s] claim that he is appealing the denial of

his motion to dismiss the indictment, his argument to us concerns not the sufficiency of the

indictment allegations, but rather, the sufficiency of the record to support a finding that [the

defendant] was guilty.” (emphasis in original)).         The question at issue here—whether the

allegations in the indictment are sufficient—“does not involve any examination of the evidence.”1

Todd, 446 F.3d at 1068. The proper time to argue the evidence is insufficient to sustain a



         1
          Todd explained that in “limited circumstances,” district courts may dismiss a charge at
the pretrial stage if “the operative facts are undisputed and the government fails to object to the
district court’s consideration of those undisputed facts in making the determination regarding a
submissible case.” 446 F.3d at 1068. “Dismissals under this exception are not made on account
of a lack of evidence to support the government’s case, but because undisputed evidence shows
that, as a matter of law, the Defendant could not have committed the offense for which he was
indicted.” Id. Because the evidence in this case is disputed, it would be improper to rely on the
Defendant’s proffered version of events to conclude the case should not proceed to trial. Instead,
the Defendant should have the same opportunity as any other defendant to contest the
Government’s evidence at a jury trial.


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conviction is, under Rule 29, “[a]fter the government closes its evidence or after the close of all

the evidence,” or after a guilty verdict. Fed. R. Crim. P. 29. The Defendant’s disputes with the

Government’s evidence do not entitle him to take this case from the jury.

       Count Four alleges that the Defendant willfully misapplied bank funds, with the intent to

injure and defraud PSB, by distributing $680,000 of PSB funds to Alex Murdaugh’s former law

firm without notice to or consent from the PSB Board of Directors.              Second Superseding

Indictment, ECF No. 61 at 14. The Defendant’s claim that his evidence will show PSB’s Executive

Committee did consent to the payment does not demonstrate an error in the indictment; it

demonstrates that there are questions of fact and credibility for the jury to resolve.

       For example, the Defendant argues he testified at the September bond reconsideration

hearing that “himself, his father, and his sister” were involved in making the decision to write a

check for $680,000 to the law firm. Second Mot. to Dismiss, ECF No. 137 at 7–8. But the

Defendant’s own story on this issue has evolved over time. In an October 29, 2021 email to the

PSB Board of Directors, the Defendant informed the Board that the bank had taken “a $680,000

loss.” Exhibit 1 at 1 (Oct. 29, 2021, 3:22 pm email). He said, “I negotiated with the law firm to

pay part [of the $1,172,945.76 in improperly converted checks] and they pay the balance to make

their client whole.” Id. (emphasis added).

       Then, in a November 2, 2021 email, the Defendant notified PSB’s counsel and the members

of the bank’s Litigation Committee that “[t]he bank is paying this amount [$680,000],” and “[t]he

verbal contract between PSB and PMPED was done with the approval of the Chairman of the

Board and the CEO.” See Exhibit 2 at 1 (Nov. 2, 2021, 5:35 pm email) (emphasis added). The

CEO at the time was the Defendant, and the Chairman of the Board was his father.




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       In a June 2022 interview, the Defendant’s story changed again. He first claimed he, his

father, and his sister had discussed paying $680,000 to the firm. See Exhibit 3 at 104–05 (excerpt

of June 23, 2022 interview transcript) (under seal). Later in the interview, though, he says he and

his father were in his office discussing the stolen Badger money: “we talked about it, we wanted

to offer $680.” Id. at 109–10. In that discussion, there was no mention of the Defendant’s sister.

Id. Then, in the September 2022 bond reconsideration hearing, the Defendant again said that he,

his father, and his sister had discussed paying $680,000 to the firm. See 9/6/22 Bond Hr’g Trans.

at 91:2–13.

       Similarly, the Defendant argues in his motion to dismiss that he cut the check “under the

supervision of the Board’s attorney.” Second Mot. to Dismiss, ECF No. 137 at 7. But in a follow-

up to his October 29 email informing the Board he had agreed to pay the firm $680,000, the

Defendant said, “Attorney’s [sic] were informed, but not consulted.” Exhibit 1 at 3 (Oct. 29, 2021,

3:57 pm email). The Defendant’s story regarding the $680,000 payment—including in sworn

statements—has changed several times, and it is “within the sole province of the jury” to determine

which version of that story, if any, is credible.2 United States v. Burgos, 94 F.3d 849, 863 (4th

Cir. 1996) (en banc).

       “An indictment returned by a legally constituted and unbiased grand jury . . . if valid on its

face, is enough to call for trial of the charge on the merits.” Costello v. United States, 350 U.S.

359, 363 (1956). As set forth below, Count Four sufficiently alleges that the Defendant willfully

misapplied money in the care and custody of PSB, with the intent to injure and defraud PSB, when



       2
          The examples cited above are meant only to establish that the Government’s evidence
directly contradicts the version of events the Defendant has proffered in his motion. The additional
evidence the Government will introduce at trial—including bank documents, internal
communications, and witness testimony—will establish the Defendant’s guilt beyond a reasonable
doubt.


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he distributed $680,000 of PSB funds to Murdaugh’s former law firm without notice to or consent

from the PSB Board of Directors, knowing he had fraudulently transferred the money to

Murdaugh. See Second Superseding Indictment, ECF No. 61 at 14. The Defendant’s disputes with

the Government’s evidence do not warrant dismissal of the indictment. Competing questions of

fact and credibility are classic questions for the jury to resolve. The Court should decline the

Defendant’s invitation to act as the finder of fact and weigh evidence that has not yet been

introduced. His motion to dismiss should be denied.

    III.      The Defendant has not shown any error before the grand jury.

           The Defendant’s challenges to the Government’s grand jury presentation boil down to two

claims: he argues (1) the Government failed to present the grand jury with evidence supporting

his claim that the PSB Executive Committee approved the $680,000 payment to the law firm; and

(2) witness testimony before the grand jury included “misstatements” caused by

“misunderstandings of the law.” Second Mot. to Dismiss, ECF No. 137 at 6, 9–13. Both claims

are without merit.

           The Defendant’s first claim fails because the Government has no duty to present the

defense to the grand jury. The grand jury has “twin historical responsibilities”: “bringing to trial

those who may be justly accused and shielding the innocent from unfounded accusation and

prosecution.” United States v. Williams, 504 U.S. 36, 51 (1992). “It is axiomatic that the grand

jury sits not to determine guilt or innocence, but to assess whether there is adequate basis for

bringing a criminal charge.” Id. To make that assessment, the Supreme Court has acknowledged,

“it has always been thought sufficient to hear only the prosecutor’s side.” Id. The Government is

therefore not required to present exculpatory information to the grand jury, id. at 52, or to anticipate

and present a defendant’s affirmative defenses to the grand jury, United States v. Gardner, 860




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F.2d 1391, 1395 (7th Cir. 1988). Requiring the Government to present the defense’s argument

(without the target of the investigation present) would turn the grand jury proceeding into the trial

itself. Moreover, the only evidence the Defendant claims should have been presented to the grand

jury is his own self-serving statement and evidence he did not disclose he had until after the Second

Superseding Indictment had been issued. See Second Mot. to Dismiss, ECF No. 137 at 7–8. The

time for the Defendant to present his evidence is in trial, before a petit jury. The Court should

reject the argument that the indictment is defective because the grand jury presentation did not

include evidence the Defendant believes supports his defense.

       The Defendant’s second challenge is another attempt to recast a dispute about the weight

of the evidence into a legal error in the indictment. The Defendant’s disagreements with the case

agent’s grand jury testimony are not a basis for dismissal. Even assuming the Defendant has

correctly identified any misstatement in the grand jury testimony (and to be clear, he has not), the

Supreme Court has squarely held that “the mere fact that evidence itself is unreliable is not

sufficient to require a dismissal of the indictment,” and “a challenge to the reliability or

competence of the evidence presented to the grand jury will not be heard.” Williams, 504 U.S. at

54 (quotation marks omitted, emphasis added). “A complaint about the quality or adequacy of the

evidence can always be recast as a complaint that the prosecutor’s presentation was ‘incomplete’

or ‘misleading,’” but, the Supreme Court has emphasized, “[r]eview of facially valid indictments

on such grounds would run counter to the whole history of the grand jury institution, and neither

justice nor the concept of a fair trial requires it.” Id. at 54–55 (quotation marks and alterations

omitted).

        “After indictment, the judiciary’s role in policing the credibility of witnesses before a

grand jury is minimal.” United States v. Strouse, 286 F.3d 767, 771 (5th Cir. 2002). Courts may




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use their supervisory power to dismiss an indictment because of misconduct, Williams, 504 U.S.

at 46, but the Defendant has acknowledged there was no such misconduct here. Second Mot. to

Dismiss, ECF No. 137 at 9 (“Mr. Laffitte does not claim that these misstatements were

intentional.”). And the Defendant has cited no authority for the proposition that courts may dismiss

indictments based on factual disputes regarding grand jury testimony.          Williams expressly

disclaims that notion. 504 U.S. at 54.

       The Defendant’s claims amount to factual disputes for the jury to resolve. He argues the

case agent’s grand jury testimony that a reasonable personal representative (PR) fee is 1% to 1.5%

“is unhelpful, misleading, and fails to reference any standard or source relied upon.” Second Mot.

to Dismiss, ECF No. 137 at 10. The Defendant is free to cross-examine the agent on his testimony

at trial. The Defendant also disputes the agent’s characterization of a 5% PR fee as high and argues

the agent failed to inform the jury that a PR fee above 5% can be approved by the court “for

extraordinary services.” Id. Whether the PR and conservator fees the Defendant collected from

Murdaugh’s clients were reasonable, and whether the Defendant sought court approval for taking

a higher fee in exchange for extraordinary services (he did not), are questions of fact for the jury

to decide.3

       Next, the Defendant argues there are “inaccuracies and critical omissions surrounding the

disbursement of Donna Badger’s estate” because, as personal representative for the estate, the

Defendant was not responsible for managing the $1.325 million disbursed to Arthur Badger.




       3
         For example, the Defendant argues that as the PR for Donna Badger’s estate, he was
responsible for managing only $500 in settlement funds. Second Mot. to Dismiss, ECF No. 137 at
11. He disclaims any responsibility for managing the $1.325 million that went to Arthur Badger
(a beneficiary of Donna’s estate). Id. Whether it was reasonable for the Defendant to collect a
$35,000 PR fee from Arthur Badger given that he was allegedly only responsible for managing
$500 in settlement funds is a jury question. See Exhibit 5 (Arthur Badger Disbursement Sheet).


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Second Mot. to Dismiss, ECF No. 137 at 10–11 (emphasis in original). This claim ignores that the

Defendant has admitted to negotiating hundreds of thousands of dollars in checks with “Estate of

Donna Badger” written on the memo line. See Exhibit 4 (Badger checks); 9/6/22 Bond Hr’g Trans.

42:19–24 (“Q: At the time you negotiated checks with the memo line, ‘Estate of Donna Badger,’

as PR for the estate of Donna Badger to pay off Hannah Plyler loans? A: I did not realize it was

her money, no, ma’am. Q: But you negotiated those checks? A: I did negotiate the checks, yes,

ma’am.”).

       The Defendant also disagrees with the case agent’s testimony that the Defendant, his sister,

and his father informally approved loans “outside the norms of the Executive Committee.” Second

Mot. to Dismiss, ECF No. 137 at 12.          He contends this was an accepted practice.        The

Government’s witnesses will testify that it was not.

       The Defendant’s final factual dispute regards whether he was responsible for a

misrepresentation to the probate court about Natarsha Thomas’s age. Second Mot. to Dismiss,

ECF No. 137 at 12–13. It is the jury’s job to decide whether to believe his claim that he was

merely “a neutral third party” who signed the wrong portion of the form based on his attorney’s

advice.4 See id. at 13. Dismissal of an indictment is not warranted where the defendant’s claim

of false grand jury testimony “amounts to nothing more than a disagreement with the witness’s




       4
           To the extent this amounts to an advice-of-counsel defense, the Government has not
conceded—and does not concede—that the Defendant has satisfied his burden to establish a prima
facie case that he was acting in good faith on the advice of counsel. See United States v.
Westbrooks, 780 F.3d 593, 596 (4th Cir. 2015) (“[T]o be entitled to an advice-of-counsel defense,
the defendant must establish (a) full disclosure of all pertinent facts to an attorney, and (b) good
faith reliance on the attorney’s advice.” (quotation marks omitted)).


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opinions of the facts of the case.”5 See United States v. Outlaw, 464 F. App’x 165, 167 (4th Cir.

2012) (unpublished).

          Finally, any error in the grand jury proceedings did not prejudice the Defendant and is

therefore not a basis for dismissal.

          The Defendant’s challenges to the grand jury proceedings are a premature attempt to

litigate the weight of the evidence against him. He has identified no actual error in the indictment

or the grand jury proceedings. Even if he had, he has failed to show any such error prejudiced

him. His motion to dismiss should be denied.

    IV.       Each count in the Second Superseding Indictment tracks the language of the
              applicable statute and alleges the essential elements and essential facts
              constituting the offense.

          The Defendant has not identified any insufficiency in the Second Superseding Indictment.

Federal Rule of Criminal Procedure 7(c)(1) requires an indictment to be “a plain, concise, and

definite written statement of the essential facts constituting the offense charged.” “A valid

indictment must: (1) allege the essential facts constituting the offense; (2) allege each element of

the offense, so that fair notice is provided; and (3) be sufficiently distinctive that a verdict will bar



          5
          Even if there were some error in the grand jury proceeding, any such error would not
warrant dismissal because it did not prejudice the Defendant. “[A] district court may not dismiss
an indictment for errors in grand jury proceedings unless such errors prejudiced the defendant[].”
Bank of Nova Scotia v. United States, 487 U.S. 250, 254 (1988). When, as in this case, an alleged
grand jury irregularity is not of constitutional dimension, “prejudice justifying dismissal of an
indictment exists only where (1) the irregularity substantially influences the decision to indict or
(2) ‘there is grave doubt that the decision to indict was free from the substantial influence of such
irregularities.’” United States v. Brewer, 1 F.3d 1430, 1433 (4th Cir. 1993) (quoting Bank of Nova
Scotia, 487 U.S. at 254) (alteration omitted). Neither circumstance is present here.
        The grand jury was presented with overwhelming evidence in support of the Government’s
allegations against the Defendant. His conclusory claim that “there is grave doubt that the Grand
Jury’s decision to indict him was free from the substantial influence” of the alleged false statements
ignores the wealth of evidence supporting the grand jury’s finding of probable cause. Should the
Court deem it necessary, the Government is prepared to supply unredacted copies of the grand jury
transcripts for the Court’s review.


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a second prosecution for the same offense.” United States v. Bolden, 325 F.3d 471, 490 (4th Cir.

2003). Ordinarily, an indictment that tracks the statutory language is sufficient. Hamling v. United

States, 418 U.S. 87, 117 (1974). Each count in the Second Superseding Indictment contains the

essential elements of the offense and fairly informs the Defendant of the charge against him. The

Defendant’s motion to dismiss is without merit.

   A. Count One – Conspiracy to Commit Bank Fraud and Wire Fraud – alleges each of
      the essential elements and the essential facts underlying the offense.

       Count One alleges that from at least July 2011 until at least October 2021, the Defendant

and others conspired and agreed to commit wire fraud and bank fraud, in violation of 18 U.S.C.

§ 1349. Second Superseding Indictment, ECF No. 61 at 10. It alleges each element of the offense

and sets forth the essential facts underlying the offense with sufficient specificity to put the

Defendant and any future court on notice of the charge against him. See United States v. Okun,

453 F. App’x 364, 369–70 (4th Cir. 2011) (unpublished). The introductory charging language

tracks § 1349:


       Second Superseding Indictment                             18 U.S.C. § 1349
               (ECF No. 61 at 10)
 From a time beginning no later than July 2011,    Any person who attempts or conspires to
 and continuing until at least October 2021, in    commit any offense under this chapter shall be
 the District of South Carolina, the Defendant,    subject to the same penalties as those
 RUSSELL LUCIUS LAFFITTE, and others,              prescribed for the offense, the commission of
 knowingly and intentionally combined,             which was the object of the attempt or
 conspired, and agreed to:                         conspiracy.


And the indictment tracks the language of and contains the essential elements of the wire fraud

and bank fraud statutes:




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        Second Superseding Indictment                             18 U.S.C. § 1343
               (ECF No. 61 at 10)
 [T]he Defendant, RUSSELL LUCIUS
 LAFFITTE, and others, knowingly and
 intentionally combined, conspired and agreed
 to:
                                                    Whoever, having devised or intending to
 knowingly devise a scheme and artifice to          devise any scheme or artifice to defraud, or for
 defraud and to obtain money and property by        obtaining money or property by means of false
 means of false and fraudulent pretenses,           or fraudulent pretenses, representations, or
 representations, and promises, and transmit        promises, transmits or causes to be transmitted
 and cause to be transmitted by means of wire,      by means of wire, radio, or television
 radio, or television communication in              communication in interstate or foreign
 interstate commerce, writings, signals, pictures   commerce, any writings, signs, signals,
 or sounds for the purpose of executing the         pictures, or sounds for the purpose of
 scheme and artifice, in violation of Title 18,     executing such scheme or artifice, shall be
 United States Code, Section 1343.                  fined under this title or imprisoned not more
                                                    than 20 years, or both.

        Second Superseding Indictment                            18 U.S.C. § 1344(2)
               (ECF No. 61 at 10)
 [T]he Defendant, RUSSELL LUCIUS
 LAFFITTE, and others, knowingly and
 intentionally combined, conspired and agreed
 to:

 knowingly execute and attempt to execute a         Whoever knowingly executes, or attempts to
 scheme and artifice to obtain property held by     execute, a scheme or artifice—
 PSB, a financial institution insured by the        (2) to obtain any of the moneys, funds,
 FDIC, and obtain the moneys, funds, credits,       credits, assets, securities, or other property
 assets, securities, and other property owned by    owned by, or under the custody or control of,
 and under the custody and control of PSB, by       a financial institution, by means of false or
 means of materially false and fraudulent           fraudulent pretenses, representations, or
 pretenses, representations and promises and        promises;
 failing to disclose material information and       shall be fined not more than $1,000,000 or
 fraudulently concealing material information,      imprisoned not more than 30 years, or both.
 in violation of Title 18, United States Code,
 Section 1344(2).


       The indictment also sets forth the essential facts underlying the conspiracy charge.

Paragraphs 7 and 8 detail with specificity the scheme to defraud. Second Superseding Indictment,

ECF No. 61 at 3–10. The indictment states the object of the conspiracy: for the Defendant and




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Alex Murdaugh “to obtain money and property by means of false and fraudulent pretenses,

representations, and promises,” and to defraud Murdaugh’s clients. Id. at 10–11. And it charges

overt acts the Defendant committed in furtherance of the conspiracy:

           a. On or about December 21, 2011, RUSSELL LUCIUS LAFFITTE
              negotiated and distributed, and caused to be negotiated and distributed,
              checks for $309,581.46 and $325,000.00, funds belonging to H.P.Y. and
              N.T., as directed by the Bank Customer;

           b. On or about August 20, 2012, and continuing through September 4, 2012,
              RUSSELL LUCIUS LAFFITTE negotiated and distributed, and caused to
              be negotiated and distributed, a check for $25,245.06, funds belonging to
              N.T., as directed by the Bank Customer;

           c. On or about February 8, 2013, RUSSELL LUCIUS LAFFITTE negotiated
              and distributed, and caused to be negotiated and distributed, $151,726.05 to
              H.P., at the Bank Customer’s direction, knowing that the money belonged
              to the Estate of D.B. and/or the Estate’s beneficiaries.

Id. at 11. Count One sufficiently sets forth the elements and facts underlying the conspiracy count,

and the Defendant does not argue—much less demonstrate—otherwise.

       Instead, the Defendant poses two meritless challenges to the indictment. First, he argues

the indictment is insufficient because it “never alleges that Mr. Laffitte ‘knew about’ the unlawful

activity” Murdaugh pursued. Second Mot. to Dismiss, ECF No. 137 at 15. The wire and bank

fraud conspiracy alleged in Count One requires the Defendant to have “acted knowingly.” United

States v. Vinson, 852 F.3d 333, 357 (4th Cir. 2017) (addressing bank fraud conspiracy conviction).

And the indictment specifically alleges that he “knowingly and intentionally” conspired to

“knowingly devise a scheme and artifice to defraud and obtain money” by false and fraudulent

pretenses using wire communication, and to “knowingly execute and attempt to execute a scheme

and artifice to obtain property held by PSB” by false and fraudulent pretenses. Second Superseding

Indictment, ECF No. 61 at 10. Subparagraph c alleges the Defendant negotiated and distributed

Badger money into Hannah Plyler’s account “knowing that the money belonged to the Estate of


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[Donna Badger] and/or the Estate’s beneficiaries.” Second Superseding Indictment, ECF No. 61

at 11. The indictment sufficiently alleges the mens rea required to commit wire and bank fraud

conspiracy.

       The Defendant also argues that Count One is insufficient because it does not charge Alex

Murdaugh. Second Mot. to Dismiss, ECF No. 137 at 15. He fails to explain how the Government’s

charging decisions regarding another individual in any way effect the sufficiency of the indictment

against him. As this Court explained in its order denying the Defendant’s first motion to dismiss,

“if the government has ‘probable cause to believe that the accused committed an offense defined

by statute, the decision whether or not to prosecute, and what charge to file or bring before a grand

jury, generally rests entirely in [its] discretion.’” ECF No. 94 at 3 (quoting Bordenkircher v.

Hayes, 434 U.S. 357, 364 (1978)). The Fourth Circuit does not require indictments to even name

alleged co-conspirators, much less to actually indict them. See United States v. Black, 133 F.3d

917, 1997 WL 787090, at *1 (4th Cir. 1997) (Table) (“We join our sister circuits in finding that a

conspiracy indictment under 21 U.S.C. § 846 need not allege any overt acts or name unindicted

co-conspirators; it is sufficient if the indictment alleges a conspiracy to distribute drugs, identifies

the time period in which the conspiracy allegedly operated, and specifies the statute allegedly

violated.”). That the Defendant is the only conspirator charged in this case does not render his

indictment defective.6

       Count One of the Second Superseding Indictment alleges a conspiracy to commit wire and




       6
          The Defendant’s suggestion that the charge against him should be dismissed because
Murdaugh was not also indicted, like other statements by the defense, indicates he may seek to
argue at trial that he should be acquitted because others are more worthy of criminal prosecution.
As explained in the Government’s Motion in Limine to Exclude Improper Nullification Evidence,
ECF No. 106, such an argument would be irrelevant and unfairly prejudicial because it would steer
the jury toward nullification.


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bank fraud, tracks the language of the relevant statutes, and identifies the time period of the

conspiracy, its object, and overt acts taken in furtherance of it. It is more than legally sufficient.

See id.

   B. Count Two – Bank Fraud – alleges the Defendant executed or attempted to execute a
      scheme and artifice to obtain money by means of false and fraudulent pretenses.

          The Defendant’s challenge to Count Two also fails. Contrary to the Defendant’s argument,

the indictment alleges with specificity the scheme and artifice the Defendant executed to obtain

money and funds under the custody and control of PSB by means of false and fraudulent pretenses,

representations, and promises.

          For example, the indictment alleges:

          h. The Bank Customer requested that RUSSELL LUCIUS LAFFITTE serve as
             personal representative for the Estate of D.B. RUSSELL LUCIUS LAFFITTE
             collected $35,000 for his role as personal representative, although he did not
             manage any money for the Estate of D.B. and had very limited interaction with
             the beneficiaries of the Estate.

          i. As personal representative for the Estate of D.B., RUSSELL LUCIUS
             LAFFITTE received disbursements from the Law Firm following the
             settlement of a civil lawsuit. Following the settlement, the Law Firm issued
             one large check for $1,325,000.00 to PSB to fund a structured settlement. The
             Bank Customer directed RUSSELL LUCIUS LAFFITTE to email him and
             request that the Law Firm re-cut the check in amounts determined by the Bank
             Customer. RUSSELL LUCIUS LAFFITTE complied with the Bank
             Customer’s request and sent him a separate email requesting that the
             disbursement check be re-cut accordingly.

          j. RUSSELL LUCIUS LAFFITTE then negotiated and distributed the checks at
             the Bank Customer’s direction, including:

                i.   $388,687.50 money order to a third-party individual to repay a private
                     loan;

               ii.   $482,124.35 transfer to H.P.’s account to repay loans RUSSELL
                     LUCIUS LAFFITTE extended as conservator for H.P.;

              iii.   $75,000.00 money order to the Bank Customer’s father;




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            iv.    $7,500.00 money order to the Bank Customer’s wife;

             v.    $34,000.00 wire transfer to 4M Iron LLC;

            vi.    $8,200.00 money order to third individual associated with Bank
                   Customer;

            vii.   $29,000.00 money order to Honey Creek Motors;

           viii.   $49,500.00 wire transfer to Southern Crane; and

            ix.    $250,987.35 in deposits and transfers into the Bank Customer’s
                   personal checking accounts and cash back.


       Each check issued from the Law Firm to PSB referenced the Estate of D.B. and/or
       beneficiaries of the Estate on the memo lines, individuals to whom RUSSELL
       LUCIUS LAFFITTE owed a duty as personal representative for the Estate of D.B.

Second Superseding Indictment, ECF No. 61 at 6–7. The alleged misrepresentations should be

clear to the Defendant, who argues in his motion to dismiss that as the personal representative for

Donna Badger’s Estate, he was responsible only for $500 in settlement funds, and “[i]t was not

Mr. Laffitte’s responsibility to ensure a settlement agreement for Alex Murdaugh’s client was

handled properly when the [$1.325 million] funds did not come through Mrs. Badger’s estate.”

Second Mot. to Dismiss, ECF No. 137 at 11 (internal alterations omitted). As the indictment

alleges, the Defendant “collected $35,000 for his role as personal representative, although he did

not manage any money for the Estate of D.B. and had very limited interaction with the beneficiaries

of the Estate.” Second Superseding Indictment, ECF No. 61 at 6. And despite his own admission

that it was not his “responsibility” to manage Arthur Badger’s $1.325 million, the indictment

alleges he requested the law firm re-cut the Badger settlement check and then negotiated and

distributed the re-divided checks, each of which referenced the Estate or the Estate’s beneficiaries.

See id. at 6–7; Exhibit 4 (Badger checks). The misrepresentations contained in the indictment

allege exactly the “relational component” the Defendant claims is lacking: the Defendant made



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misrepresentations in taking the PR fee despite not managing any money; misrepresentations in

directing the firm—as the PR—to re-cut the Badger settlement check; and misrepresentations

made in negotiating and distributing the checks—again, as the PR—to individuals and entities

totally unrelated to the Badgers. The firm could not have re-cut the checks, and the bank could

not have processed these transactions, without the Defendant’s misrepresentations. The indictment

sufficiently alleges a scheme and artifice by which the Defendant obtained money and funds under

PSB’s custody and control by means of false and fraudulent pretenses.7

   C. Count Three – Wire Fraud – clearly alleges conduct that affected a financial
      institution.

       The wire fraud charge alleged in Count Three is not barred by the statute of limitations.

Most federal crimes have a five-year statute of limitations. 18 U.S.C. § 3282(a). There is an

exception, however, for violations of the wire fraud statute “if the offense affects a financial

institution.” 18 U.S.C. § 3293. Such offenses may be indicted within 10 years of the commission

of the offense.

       The Defendant asserts “the Government has not alleged fraud affecting a financial

institution.” Second Mot. to Dismiss, ECF No. 137 at 18. This ignores the plain language of Count

Three, which states:

              On or about September 13, 2013, in the District of South Carolina, the
       Defendant, RUSSELL LUCIUS LAFFITTE, with the Bank Customer and others
       known and unknown to the Grand Jury, having devised a scheme and artifice to
       defraud and to obtain money and property by means of false and fraudulent
       pretenses, representations, and promises, transmitted and caused to be transmitted


       7
         If the Defendant believes the indictment does not provide adequate information for the
charges to be understood or to enable him to prepare a defense, his remedy is to seek a bill of
particulars, not a dismissal of the indictment. See United States v. Am. Waste Fibers Co., Inc., 809
F.2d 1044, 1047 (4th Cir. 1987). “The indictment notifies [the Defendant] of the offenses with
which [he] has been charged; the bill of particulars, if granted, serves to supply the evidentiary
details needed to prepare a defense.” Id. However, the Defendant has not alleged that the
indictment is insufficiently particular to allow him to prepare a defense.


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       by means of wire in interstate commerce, writings, signs, and signals, for the
       purpose of executing such a scheme and artifice, in that he obtained funds, as
       personal representative, belonging to the Estate of D.B. and/or the Estate’s
       beneficiaries, and distributed $33,789.83 to the Bank Customer’s personal account,
       affecting a financial institution;
               In violation of Title 18, United States Code, Sections 1343 and 2.
Second Superseding Indictment, ECF No. 61 at 13 (emphasis added). Nothing more is needed.

Count Three “apprises the accused of the charge against him so he can prepare his defense” and

“enables the accused to plead the Double Jeopardy bar to reprosecution if he is later charged with

the same offense.” See Am. Waste Fibers Co., Inc., 809 F.2d at 1046.

   D. Counts Four, Five, and Six – Misapplication of Bank Funds – sufficiently allege the
      Defendant willfully misapplied bank funds with the intent to injure and defraud PSB.

       The Defendant’s challenge to the misapplication of bank funds charges fails because—like

his challenge to Count Three—it ignores the plain language of the indictment. The Defendant

claims that “[a]bsent from Counts Four through Six is Mr. Laffitte’s intent to defraud.” Second

Mot. to Dismiss, ECF No. 137 at 19. But each of these counts expressly alleges the Defendant

acted with intent to defraud:

                                            Count Four
               On or about October 28, 2021, in the District of South Carolina, the
       Defendant, RUSSELL LUCUIS LAFFITTE, being an officer, director, agent, and
       employee of PSB, a financial institution insured by the FDIC, with the intent to
       injure and defraud PSB, willfully misapplied, abstracted, and purloined moneys,
       funds, and credits entrusted to the custody and care of PSB, in that the Defendant,
       RUSSELL LUCIUS LAFFITTE, distributed $680,000.00 of PSB funds to the Law
       Firm, without notice to or consent from the PSB Board of Directors, knowing that
       he had fraudulently transferred the money to the Bank Customer;
               In violation of Title 18, United States Code, Sections 656 and 2.
                                           Count Five
               On or about July 15, 2021 and continuing until August 18, 2021, in the
       District of South Carolina, the Defendant, RUSSELL LUCUIS LAFFITTE, being
       an officer, director, agent, and employee of PSB, a financial institution insured by
       the FDIC, with the intent to injure and defraud PSB, willfully misapplied,
       abstracted, and purloined moneys, funds, and credits entrusted to the custody and
       care of PSB, in that the Defendant, RUSSELL LUCIUS LAFFITTE, caused PSB
       to fund a $750,000.00 commercial loan to the Bank Customer for beach house


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       renovations and expenses, with preferential lending terms, including insufficient
       collateral, knowing that the loan was essentially unsecured and that loan proceeds
       would be and were used for other purposes, namely to pay Attorney 1 and to cover
       hundreds of thousands of dollars in overdraft on the Bank Customer’s personal
       account at PSB;
               In violation of Title 18, United States Code, Sections 656 and 2.
                                             Count Six
               On or about February 20, 2015, in the District of South Carolina, the
       Defendant, RUSSELL LUCUIS LAFFITTE, being an officer, director, agent, and
       employee of PSB, a financial institution insured by the FDIC, with the intent to
       injure and defraud PSB, willfully misapplied, abstracted, and purloined moneys,
       funds, and credits entrusted to the custody and care of PSB, in that the Defendant,
       RUSSELL LUCIUS LAFFITTE, caused PSB to fund a $500,000.00 line of credit
       to the Bank Customer for “farming,” and thereafter issued a $284,787.52 cashier’s
       check knowing that the loan proceeds would be and were used for other purposes,
       namely to pay off loans previously extended from H.P.’s conservatorship account;
               In violation of Title 18, United States Code, Sections 656 and 2.
Second Superseding Indictment, ECF No. 61 at 14–16 (emphasis added). Like the first three

counts, Counts Four, Five, and Six track the language of the applicable statute, apprise the

Defendant of the charges against him, and enable him to plead a bar to reprosecution should he

later be charged with the same offense. See Am. Waste Fibers Co., Inc., 809 F.2d at 1046. The

Defendant has identified no defect in the Second Superseding Indictment.

       Instead, as with his first claim, the Defendant simply argues the allegations are “false” and

that his evidence will disprove them. See Second Mot. to Dismiss, ECF No. 137 at 19–20. But

neither a defendant’s intention to present competing evidence nor his disagreement with an

indictment’s charges is a basis for dismissal. See Todd, 446 F.3d at 1068 (explaining evaluation

of a motion to dismiss an indictment “does not involve any examination of the evidence”).

       The Defendant also claims the misapplication of bank funds counts are really “about Alex

Murdaugh’s intent to defraud his clients or the Bank and those motives being improperly imputed

to Mr. Laffitte.” Id. at 20. This argument is belied by the indictment itself, which is based solely

on the Defendant’s intent to defraud and injure the bank. See Second Superseding Indictment,



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ECF No. 61 at 14, 15, 16. The Defendant’s own motion gives away the game: He argues “[t]here

is no evidence that Mr. Laffitte intended to defraud or injure the Bank.” Second Mot. to Dismiss,

ECF No. 137 at 20 (emphasis added). But as explained above, the question on a motion to dismiss

an indictment “is not whether the government has presented sufficient evidence to support the

charge;” the question is “whether the allegations in the indictment, if true, are sufficient to establish

a violation of the charged offense.” Todd, 446 F.3d at 1068. The allegations included in the

Second Superseding Indictment, if true, establish that the Defendant misapplied bank funds, in

violation of § 656. The Defendant will have his opportunity to disprove those allegations at trial.

    V.      Conclusion

         The Defendant’s second motion to dismiss has not identified a single deficiency in the

Second Superseding Indictment, let alone one that would warrant the “extraordinary remedy of

dismissal.” See Order Denying First Mot. to Dismiss, ECF No. 94 at 4. Instead, he invites the

Court to determine the Government’s evidence is insufficient to support a conviction before any

evidence has been introduced. The questions of fact and credibility raised in the Defendant’s

motion should be decided by the jury. Each count in the Second Superseding Indictment contains

the essential elements of the offense and fairly informs the Defendant of the charge against him.

The indictment is sufficient, and the motion to dismiss should be denied.

                             [SIGNATURE BLOCK FOLLOWING]




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  Respectfully submitted,

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